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                 EXHIBIT 1




                                   03
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                       Company:       SNAP INC

                      Document:       424B4 • 3/3/2017

                         Section:     Entire Document

                   File Number:       333-215866

                           Pages:     239


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                  Intelligize, Inc.         info@intelligize.com   1-888-925-8627



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                                                                                                                        Filed Pursuant to Rule 424(b)(4)
                                                                                                                            Registration No. 333-215866




PROSPECTUS

                                                            200,000,000 Shares


                                                                Class A Common Stock


This is an initial public offering of shares of non-voting Class A common stock of Snap Inc.

Snap Inc. is offering to sell 145,000,000 shares of Class A common stock in this offering. The selling stockholders identified in this prospectus are
offering an additional 55,000,000 shares of Class A common stock. We will not receive any of the proceeds from the sale of the shares being sold by
the selling stockholders.



We have three classes of common stock: Class A common stock, Class B common stock, and Class C common stock. The rights of the holders of Class
A common stock, Class B common stock, and Class C common stock are identical, except with respect to voting, conversion, and transfer rights.
Class A common stock is non-voting. Anyone purchasing Class A common stock in this offering will therefore not be entitled to any votes. Each share
of Class B common stock is entitled to one vote and is convertible into one share of Class A common stock. Each share of Class C common stock is
entitled to ten votes and is convertible into one share of Class B common stock. The Class C common stock, which is held by our founders, each of
whom is an executive officer and a director of the company, will represent approximately 88.5% of the voting power of our outstanding capital stock
following this offering.



Before this offering, there has been no public market for our Class A common stock. The initial public offering price is $17.00 per share. Our Class A
common stock has been approved for listing on the New York Stock Exchange under the symbol “SNAP.”



We are an “emerging growth company” under the Jumpstart Our Business Startups Act of 2012, have elected to comply with reduced public
company reporting requirements, and may elect to comply with reduced public company reporting requirements in future filings.

See “Risk Factors” beginning on page 15 to read about factors you should consider before buying our Class A common
stock.



                                                                              Underwriting
                                                                             Discounts and                       Proceeds to             Proceeds to Selling
                                                  Price to Public           Commissions (1)                       Snap Inc.                   Stockholders
Per share                                             $17.00                      $0.425                        $16.575                        $16.575
Total                                      $3,400,000,000.00              $85,000,000.00               $2,403,375,000.00                $911,625,000.00

(1)   See “Underwriting” for a description of the compensation payable to the underwriters.

At our request, the underwriters have reserved up to 7.0% of the shares of Class A common stock offered by this prospectus for sale, at the initial public
offering price, to certain institutions as well as individuals associated with us. See “Underwriting—Directed Share Program.”

To the extent that the underwriters sell more than 200,000,000 shares of Class A common stock, the underwriters have the option to purchase up to an
additional 30,000,000 shares of Class A common stock from us and certain of the selling stockholders at the initial public offering price less the
underwriting discount.

The Securities and Exchange Commission and state securities regulators have not approved or disapproved of these securities or determined if this
prospectus is truthful or complete. Any representation to the contrary is a criminal offense.

The underwriters expect to deliver the shares against payment in New York, New York on March 7, 2017.




Morgan Stanley                                   Goldman, Sachs & Co.                    J. P. Morgan                          Deutsche Bank Securities




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        Barclays                      #:2587
                             Credit Suisse             Allen & Company LLC

Prospectus dated March 1, 2017




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action litigation following periods of market volatility. If we were to become involved in securities litigation, it could subject us to substantial costs, divert
resources and the attention of management from our business, and seriously harm our business.


Delaware law and provisions in our amended and restated certificate of incorporation and amended and restated bylaws that will be in effect at the
closing of our initial public offering could make a merger, tender offer, or proxy contest difficult, thereby depressing the trading price of our Class A
common stock.
      Our amended and restated certificate of incorporation and amended and restated bylaws contain provisions that could depress the trading price of
our Class A common stock by acting to discourage, delay, or prevent a change of control of our company or changes in our management that the
stockholders of our company may deem advantageous. These provisions include the following:

      •     our amended and restated certificate of incorporation provides for a tri-class capital stock structure. As a result of this structure, after the
            offering, Mr. Spiegel and Mr. Murphy will control all stockholder decisions. As a result of Mr. Spiegel’s RSU award, Mr. Spiegel alone may
            exercise voting control over our outstanding capital stock. If they vote together, they will have control over all stockholder matters. This
            includes the election of directors and significant corporate transactions, such as a merger or other sale of our company or our assets. This
            concentrated control could discourage others from initiating any potential merger, takeover, or other change-of-control transaction that other
            stockholders may view as beneficial. As noted above, the issuance of the Class A common stock dividend, and any future issuances of Class
            A common stock dividends, could have the effect of prolonging the influence of Mr. Spiegel and Mr. Murphy on the company;
      •     our board of directors has the right to elect directors to fill a vacancy created by the expansion of the board of directors or the resignation,
            death, or removal of a director, which prevents stockholders from being able to fill vacancies on our board of directors;

      •     our amended and restated certificate of incorporation prohibits cumulative voting in the election of directors. This limits the ability of minority
            stockholders to elect director candidates; and
      •     our board of directors may issue, without stockholder approval, shares of undesignated preferred stock. The ability to issue undesignated
            preferred stock makes it possible for our board of directors to issue preferred stock with voting or other rights or preferences that could
            impede the success of any attempt to acquire us.

      Any provision of our amended and restated certificate of incorporation, amended and restated bylaws, or Delaware law that has the effect of
delaying or deterring a change in control could limit the opportunity for our stockholders to receive a premium for their shares of our common stock, and
could also affect the price that some investors are willing to pay for our Class A common stock. For information regarding these and other provisions, see
“Description of Capital Stock—Anti-Takeover Provisions.”


An active trading market for our Class A common stock may never develop or be sustained.
      Our Class A common stock has been approved for listing on the NYSE under the symbol “SNAP.” However, we cannot assure you that an active
trading market for our Class A common stock will develop on that exchange or elsewhere or, if developed, that any market will be sustained. Accordingly,
we cannot assure you of the likelihood that an active trading market for our Class A common stock will develop or be maintained, the liquidity of any
trading market, your ability to sell your shares of our Class A common stock when desired or the prices that you may obtain for your shares.


Future sales of shares by existing stockholders could cause our stock price to decline.
      If our existing stockholders, including employees and service providers who obtain equity, sell, or indicate an intention to sell, substantial amounts
of our Class A common stock in the public market after the lock-up and

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legal restrictions on resale discussed in this prospectus lapse, the trading price of our Class A common stock could decline. Based on shares outstanding
as of December 31, 2016, on the closing of this offering, we will have outstanding a total of 661,834,416 shares of Class A common stock, 279,490,968
shares of Class B common stock, and 215,887,848 shares of Class C common stock, assuming no exercise of outstanding options, and after giving effect
to the conversion of all of our outstanding shares of Series FP preferred stock into shares of Class C common stock and all other outstanding shares of
our preferred stock into shares of Class B common stock on the closing of this offering, the net issuance of shares of Class A and Class B common stock
on the closing of this offering, and the sale of Class A common stock by the selling stockholders in this offering (excluding the underwriters’ option to
purchase additional shares). Of these shares, only the shares of Class A common stock sold in this offering will be freely tradable, without restriction, in
the public market immediately after the offering. Each of our directors, executive officers, and other holders of substantially all our outstanding shares
have entered into lock-up agreements with the underwriters that restrict their ability to sell or transfer their shares. The lock-up agreements pertaining to
this offering will expire 150 days after the date of this prospectus; provided, that such restricted period will end ten business days prior to the scheduled
closure of our trading window for the first full fiscal quarter completed after the date of this prospectus if (i) such restricted period ends during or within
ten business days prior to the scheduled closure of such trading window and (ii) such restricted period will end at least 120 days after the date of this
prospectus. We anticipate that the scheduled trading window closure for the first full quarter after the date of this prospectus will begin on June 10, 2017
and open after the first full trading day following our announcement of earnings for that quarter. However, either Morgan Stanley & Co. LLC or Goldman,
Sachs & Co. may, in its sole discretion, waive the contractual lock-up before the lock-up agreements expire. We expect approximately 50 million shares of
our Class A common stock purchased by investors in this offering will be subject to a separate lock-up agreement with us providing for a restricted
period of one year following the date of this prospectus. These agreements will reduce the number of our shares available for sale in the public market
during their term. We may, in our sole discretion, waive any of these lock-up agreements before the restricted period expires. There are currently no
binding commitments for investors to purchase these shares or enter into these agreements and the actual number of shares purchased by these
investors in the offering or subject to these lock-up agreements may be more or less. After the lock-up agreements expire, all 1,157,213,232 shares
outstanding as of December 31, 2016 (assuming the closing of the offering) will be eligible for sale in the public market, of which 625,316,324 shares are
held by directors, executive officers, and other affiliates and will be subject to volume limitations under Rule 144 of the Securities Act of 1933, as
amended, or the Securities Act, and various vesting agreements. In addition, 175,832,771 shares of Class A common stock and 49,766,414 shares of Class
B common stock are subject to outstanding stock options and RSUs as of December 31, 2016, and outstanding RSUs and stock options to purchase an
aggregate of 27,255,247 shares of Class A common stock and no shares of Class B common stock were granted subsequent to December 31, 2016. These
shares will become eligible for sale in the public market to the extent permitted by the provisions of various vesting agreements, the lock-up agreements,
and Rules 144 and 701 of the Securities Act. We intend to file a registration statement on Form S-8 under the Securities Act covering all the shares of
Class A common stock subject to stock options outstanding and reserved for issuance under our stock plans. This registration statement will become
effective immediately on filing, and shares covered by this registration statement will be eligible for sale in the public markets, subject to Rule 144
limitations applicable to affiliates and any lock-up agreements described above. If these additional shares are sold, or if it is perceived that they will be
sold in the public market, the trading price of our Class A common stock could decline.


You should rely only on statements made in this prospectus in determining whether to purchase our shares, not on information in public media that is
published by third parties.
       You should carefully read and evaluate all the information in this prospectus. In the past, we have received, and may continue to receive, a high
degree of media coverage. This includes coverage that is not attributable to statements made by our officers or employees or incorrectly reports on
statements made by our officers or employees. In addition, coverage may be misleading if it omits information provided by us, our officers, or employees
or public data. You should rely only on the information contained in this prospectus in determining whether to purchase our shares of Class A common
stock.

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      In general, under Rule 144, as currently in effect, our affiliates or persons selling shares on behalf of our affiliates are entitled to sell on expiration of
the lock-up agreements described below. Beginning 90 days after the date of this prospectus, within any three-month period, such stockholders may sell
a number of shares that does not exceed the greater of:
      •     1% of the number of Class A common stock then outstanding, which will equal approximately 6,618,344 shares immediately after this offering;
            or
      •     the average weekly trading volume of our Class A common stock during the four calendar weeks preceding the filing of a notice on Form 144
            with respect to such sale.

      Sales under Rule 144 by our affiliates or persons selling shares on behalf of our affiliates are also subject to certain manner of sale provisions and
notice requirements and to the availability of current public information about us.


Rule 701
       Rule 701 generally allows a stockholder who was issued shares under a written compensatory plan or contract and who is not deemed to have been
an affiliate of our company during the immediately preceding 90 days, to sell these shares in reliance on Rule 144, but without being required to comply
with the public information, holding period, volume limitation, or notice provisions of Rule 144. Rule 701 also permits affiliates of our company to sell their
Rule 701 shares under Rule 144 without complying with the holding period requirements of Rule 144. All holders of Rule 701 shares, however, are required
by that rule to wait until 90 days after the date of this prospectus before selling those shares under Rule 701, subject to the expiration of the lock-up
agreements described below.


Form S-8 Registration Statements
      We intend to file one or more registration statements on Form S-8 under the Securities Act with the SEC to register the offer and sale of shares of
our Class A common stock and Class B common stock that are issuable under our 2012 Plan, 2014 Plan, 2017 Plan, and ESPP. These registration
statements will become effective immediately on filing. Shares covered by these registration statements will then be eligible for sale in the public markets,
subject to vesting restrictions, any applicable lock-up agreements described below, and Rule 144 limitations applicable to affiliates.


Lock-up Arrangements
       We and all of our directors and executive officers, and the holders of substantially all of our common stock and securities exercisable for or
convertible into our Class A common stock, Class B common stock, and Class C common stock outstanding immediately on the closing of this offering,
have agreed with the underwriters that, until 150 days after the date of this prospectus; provided, that such restricted period will end ten business days
prior to the scheduled closure of our trading window for the first full fiscal quarter completed after the date of this prospectus if (A) such restricted period
ends during or within ten business days prior to the scheduled closure of such trading window and (B) such restricted period will end at least 120 days
after the date of this prospectus, subject to certain exceptions, we and they will not, without the prior written consent of Morgan Stanley & Co. LLC or
Goldman, Sachs & Co., directly or indirectly, offer, sell, contract to sell, pledge, grant any option to purchase, make any short sale, or otherwise dispose of
or hedge any of our shares of common stock, any options, or any securities convertible into, or exchangeable for or that represent the right to receive
shares of our common stock. We anticipate that the scheduled trading window closure for the first full quarter after the date of this prospectus will begin
on June 10, 2017 and open after the first full trading day following our announcement of earnings for that quarter. These agreements are described in
“Underwriting.” Either Morgan Stanley & Co. LLC or Goldman, Sachs & Co. may, in its sole discretion, release any of the securities subject to these lock-
up agreements at any time.

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      We and certain selling stockholders have granted to the underwriters an option, exercisable for 30 days from the date of this prospectus, to
purchase up to 30,000,000 additional shares of Class A common stock at the public offering price listed on the cover page of this prospectus, less
underwriting discounts and commissions. To the extent the option is exercised, each underwriter will become obligated, subject to certain conditions, to
purchase about the same percentage of the additional shares of Class A common stock as the number listed next to the underwriter’s name in the
preceding table bears to the total number of shares of Class A common stock listed next to the names of all underwriters in the preceding table.

      The following table shows the per share and total public offering price, underwriting discounts and commissions, and proceeds before expenses to
us and the selling stockholders. These amounts are shown assuming both no exercise and full exercise of the underwriters’ option to purchase up to an
additional shares of our Class A common stock.

                                                                                                                                    Total
                                                                                                  Per
                                                                                                 Share           No Exercise                 Full Exercise
Public offering price                                                                        $    17.00    $     3,400,000,000.00        $    3,910,000,000.00
Underwriting discounts and commissions to be paid by:
     Us                                                                                      $ 0.425       $        61,625,000.00        $       68,148,650.13
     The selling stockholders                                                                $ 0.425       $        23,375,000.00        $       29,601,349.88
Proceeds, before expenses, to us                                                             $ 16.575      $     2,403,375,000.00        $    2,657,797,354.88
Proceeds, before expenses, to selling stockholders                                           $ 16.575      $       911,625,000.00        $    1,154,452,645.13

      The estimated offering expenses payable by us, exclusive of the underwriting discounts and commissions, are approximately $12.5 million. We have
agreed to reimburse the underwriters for expense relating to clearance of this offering with the Financial Industry Regulatory Authority, or FINRA, up to
$40,000 and expenses incurred in connection with the directed share program and certain other expenses in connection with this offering. The
underwriters have agreed to reimburse us for certain expenses incurred by us in connection with this offering.

     The underwriters have informed us that they do not intend sales to discretionary accounts to exceed 5% of the total number of shares of our Class
A common stock offered by them.

      Our Class A common stock has been approved for listing on the NYSE under the trading symbol “SNAP.”

       We and all of our directors and officers and the holders of substantially all of our outstanding equity securities have agreed that, without the prior
written consent of either of the representatives on behalf of the underwriters, we and they will not, during the period ending 150 days after the date of
this prospectus; provided, that such restricted period will end ten business days prior to the scheduled closure of our trading window for the first full
fiscal quarter completed after the date of this prospectus if (A) such restricted period ends during or within ten business days prior to the scheduled
closure of such trading window and (B) such restricted period will end at least 120 days after the date of this prospectus, which we refer to as the
“restricted period;”

      •     offer, pledge, sell, contract to sell, sell any option or contract to purchase, purchase any option or contract to sell, grant any option, right or
            warrant to purchase, lend or otherwise transfer or dispose of, directly or indirectly, any shares of common stock or any securities convertible
            into or exercisable or exchangeable for shares of common stock;

      •     file any registration statement with the SEC relating to the offering of any shares of common stock or any securities convertible into or
            exercisable or exchangeable for common stock; or
      •     enter into any swap or other arrangement that transfers to another, in whole or in part, any of the economic consequences of ownership of
            the common stock;

whether any such transaction described above is to be settled by delivery of common stock or such other securities, in cash or otherwise. We anticipate
that the scheduled trading window closure for the first full quarter

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after the date of this prospectus will begin on June 10, 2017 and open after the first full trading day following our announcement of earnings for that fiscal
quarter. In addition, we and each such person agrees that, without the prior written consent of either of the representatives on behalf of the underwriters,
we or such other person will not, during the restricted period, make any demand for, or exercise any right with respect to, the registration of any shares of
common stock or any security convertible into or exercisable or exchangeable for common stock.

       The lock-up restrictions described in the immediately preceding paragraph do not apply to our directors, officers, and other holders of substantially
all of our outstanding securities with respect to:

       (i)      sales of Class A common stock to the underwriters pursuant to the underwriting agreement;
       (ii)     transactions relating to shares of Class A common stock acquired in this offering or in open market transactions after the completion of
                this offering;

       (iii)    transfers of shares of common stock or any security convertible into common stock as a bona fide gift or charitable contribution;
       (iv)     transfers of shares of common stock or any security convertible into common stock to an immediate family member or a trust for the direct
                or indirect benefit of the stockholder or such immediate family member of the stockholder;
       (v)      transfers of shares of common stock or any security convertible into common stock by will or intestacy;
       (vi)     transfers of shares of common stock or any security convertible into common stock pursuant to a domestic relations order, divorce decree
                or court order;
       (vii)    distributions of shares of common stock or any security convertible into common stock to limited partners, members, stockholders or
                holders of similar equity interests;

       (viii)   transfers or distributions of shares of common stock or any securities convertible into or exercisable or exchangeable for common stock by
                a stockholder that is a trust to a trustor or beneficiary of the trust or to the estate of a beneficiary of such trust;
       (ix)     transfers to us in connection with the repurchase of common stock related to the termination of a stockholder’s employment with us
                pursuant to contractual agreements with us;
       (x)      the disposition of shares of common stock to us, or the withholding of shares of common stock by us, in a transaction exempt from
                Section 16(b) of the Exchange Act solely in connection with the payment of taxes due with respect to the vesting or settlement of RSUs
                granted under our equity incentive plans or pursuant to a contractual employment arrangement described elsewhere in this prospectus,
                insofar as such RSU is outstanding as of the date of this prospectus; provided, that, if required, any public report or filing under Section
                16 of the Exchange Act will clearly indicate in the footnotes thereto that such disposition to us or withholding by us of shares or securities
                was solely to us pursuant to the circumstances described in this clause;
       (xi)     the exercise of a stock option granted under our equity incentive plans described elsewhere in this prospectus, and the receipt of shares of
                common stock upon such exercise, insofar as such option is outstanding as of the date of this prospectus, provided that any net exercise
                or cashless exercise of a stock option will only be permitted if such stock option will expire pursuant to its terms during the restricted
                period, provided further that the underlying shares will continue to be subject to the restrictions on transfer set forth in the lock-up
                agreement and, provided, further that, if required, any public report or filing under Section 16 of the Exchange Act will clearly indicate in
                the footnotes thereto that the filing relates to the exercise of a stock option, that no shares were sold to the public by the reporting person
                and that the shares received upon exercise of the stock option are subject to the lock-up agreement;
       (xii)    transfers of shares of common stock or any securities convertible into or exercisable or exchangeable for common stock after the closing of
                this offering pursuant to a bona fide merger, consolidation or

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                 other similar transaction involving a change of control approved by our board of directors, provided that, in the event that such change of
                 control transaction is not completed, the securities owned by a security holder shall remain subject to the lock-up agreement;
        (xiii)   the establishment of a trading plan pursuant to Rule 10b5-1 under the Exchange Act for the transfer of shares of common stock, provided
                 that (i) such plan does not provide for the transfer of common stock during the restricted period and (ii) to the extent a public
                 announcement or filing under the Exchange Act, if any, is required or voluntarily made regarding the establishment of such plan, such
                 announcement or filing will include a statement to the effect that no transfer of common stock may be made under such plan during the
                 restricted period;
        (xiv)    the sale of shares of common stock in an underwritten public offering that occurs during the restricted period, including any concurrent
                 exercise (including a net exercise or cashless exercise) or settlement of outstanding equity awards granted under our equity incentive
                 plans or pursuant to a contractual employment arrangement described elsewhere in this prospectus in order to sell the shares of common
                 stock delivered upon such exercise or settlement in such underwritten public offering; provided that, if required, any public report or filing
                 under Section 16 of the Exchange Act will clearly indicate in the footnotes thereto that such disposition to us or withholding by us of
                 shares or securities was solely to us pursuant to the circumstances described in this clause; or

        (xv)     the receipt of shares of common stock in connection with the conversion of our outstanding preferred stock into shares of common stock;
                 provided that any such shares of common stock received upon such conversion will continue to be subject to the restrictions on transfer
                 set forth in the lock-up agreement;

provided, that, in the case of clauses (iii), (iv), (v), (vi), (vii), or (viii) above each transferee, donee or distributee will sign and deliver a lock up agreement;
and, provided, further that in the case of clauses (ii), (iii), (iv), (v), (vi), (vii), (viii), or (ix) above no filing under Section 16(a) of the Exchange Act, reporting
a reduction in beneficial ownership of shares of common stock, will be required or will be voluntarily made during the restricted period; and, provided,
further that in the case of clauses (iii), (iv), (v), (vii), and (viii), such transfer or distribution shall not involve a disposition for value.

      The lock-up restrictions described above do not apply solely to us with respect to certain transactions.

      Either of the representatives, in their sole discretion, may release the common stock and other securities subject to the lock-up agreements
described above in whole or in part at any time.

      We expect approximately 50 million shares of our Class A common stock purchased by investors in this offering will be subject to a separate lock-
up agreement with us providing for a restricted period of one year following the date of this prospectus. These agreements will reduce the number of our
shares available for sale in the public market during their term. We may, in our sole discretion, waive any of these lock-up agreements before the restricted
period expires. There are currently no binding commitments for investors to purchase these shares or enter into these agreements.

       To facilitate the offering of the Class A common stock, the underwriters may engage in transactions that stabilize, maintain or otherwise affect the
price of the Class A common stock. Specifically, the underwriters may sell more shares than they are obligated to purchase under the underwriting
agreement, creating a short position. A short sale is covered if the short position is no greater than the number of shares available for purchase by the
underwriters under option to purchase additional shares. The underwriters can close out a covered short sale by exercising the option to purchase
additional shares or purchasing shares in the open market. In determining the source of shares to close out a covered short sale, the underwriters will
consider, among other things, the open market price of shares compared to the price available under the option to purchase additional shares. The
underwriters may also sell shares in excess of the option to purchase additional shares, creating a naked short position. The underwriters must close out
any naked short position by purchasing shares in the open market. A naked short position is more likely to be created if the underwriters are concerned
that there may be downward

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